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Long-Term Follow-Up of Transsexual Persons
Undergoing Sex Reassignment Surgery: Cohort Study in
Sweden
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     Abstract
     Context: The treatment for transsexualism is sex reassignment, including hormonal treatment and surgery aimed at making
     the person’s body as congruent with the opposite sex as possible. There is a dearth of long term, follow-up studies after sex
     reassignment.

     Objective: To estimate mortality, morbidity, and criminal rate after surgical sex reassignment of transsexual persons.

     Design: A population-based matched cohort study.

     Setting: Sweden, 1973-2003.

     Participants: All 324 sex-reassigned persons (191 male-to-females, 133 female-to-males) in Sweden, 1973–2003. Random
     population controls (10:1) were matched by birth year and birth sex or reassigned (final) sex, respectively.

     Main Outcome Measures: Hazard ratios (HR) with 95% confidence intervals (CI) for mortality and psychiatric morbidity were
     obtained with Cox regression models, which were adjusted for immigrant status and psychiatric morbidity prior to sex
     reassignment (adjusted HR [aHR]).

     Results: The overall mortality for sex-reassigned persons was higher during follow-up (aHR 2.8; 95% CI 1.8–4.3) than for
     controls of the same birth sex, particularly death from suicide (aHR 19.1; 95% CI 5.8–62.9). Sex-reassigned persons also had
     an increased risk for suicide attempts (aHR 4.9; 95% CI 2.9–8.5) and psychiatric inpatient care (aHR 2.8; 95% CI 2.0–3.9).
     Comparisons with controls matched on reassigned sex yielded similar results. Female-to-males, but not male-to-females,
     had a higher risk for criminal convictions than their respective birth sex controls.

     Conclusions: Persons with transsexualism, after sex reassignment, have considerably higher risks for mortality, suicidal
     behaviour, and psychiatric morbidity than the general population. Our findings suggest that sex reassignment, although
     alleviating gender dysphoria, may not suffice as treatment for transsexualism, and should inspire improved psychiatric and
     somatic care after sex reassignment for this patient group.

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Introduction                                                                              The treatment for transsexualism includes removal of body hair,
                                                                                       vocal training, and cross-sex hormonal treatment aimed at making
   Transsexualism (ICD-10),[1] or gender identity disorder (DSM-                       the person’s body as congruent with the opposite sex as possible to
IV),[2] is a condition in which a person’s gender identity - the sense                 alleviate the gender dysphoria. Sex reassignment also involves the
of being a man or a woman - contradicts his or her bodily sex                          surgical removal of body parts to make external sexual
characteristics. The individual experiences gender dysphoria and                       characteristics resemble those of the opposite sex, so called sex
desires to live and be accepted as a member of the opposite sex.                       reassignment/confirmation surgery (SRS). This is a unique


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intervention not only in psychiatry but in all of medicine. The              Methods
present form of sex reassignment has been practised for more than
half a century and is the internationally recognized treatment to            National registers
ease gender dysphoria in transsexual persons.[3,4]                              The study population was identified by the linkage of several
   Despite the long history of this treatment, however, outcome              Swedish national registers, which contained a total of 13.8 million
data regarding mortality and psychiatric morbidity are scant. With           unique individuals. The Hospital Discharge Register (HDR, held
respect to suicide and deaths from other causes after sex                    by the National Board of Health and Welfare) contains discharge
reassignment, an early Swedish study followed 24 transsexual                 diagnoses, up to seven contributory diagnoses, external causes of
persons for an average of six years and reported one suicide.[5] A           morbidity or mortality, surgical procedure codes, and discharge
subsequent Swedish study recorded three suicides after sex                   date. Discharge diagnoses are coded according to the 8th
reassignment surgery of 175 patients.[6] A recent Swedish                    (1969-1986), 9th (1987–1996), and 10th editions (1997-) of the
follow-up study reported no suicides in 60 transsexual patients,             International Classification of Diseases (ICD). The register covers
but one death due to complications after the sex reassignment                virtually all psychiatric inpatient episodes in Sweden since 1973.
surgery.[7] A Danish study reported death by suicide in 3 out of 29          Discharges that occurred up to 31 December 2003 were included.
operated male-to-female transsexual persons followed for an                  Surgical procedure codes could not be used for this study due to
average of six years.[8] By contrast, a Belgian study of 107                 the lack of a specific code for sex reassignment surgery. The Total
transsexual persons followed for 4–6 years found no suicides or              Population Register (TPR, held by Statistics Sweden) is comprised
deaths from other causes.[9] A large Dutch single-centre study               of data about the entire Swedish population. Through linkage with
(N = 1,109), focusing on adverse events following hormonal                   the Total Population Register it was possible to identify birth date
treatment, compared the outcome after cross-sex hormone                      and birth gender for all study subjects. The register is updated
treatment with national Dutch standardized mortality and                     every year and gender information was available up to 2004/2005.
morbidity rates and found no increased mortality, with the                   The Medical Birth Register (MBR) was established in 1973 and
exception of death from suicide and AIDS in male-to-females 25–              contains birth data, including gender of the child at birth. National
39 years of age.[10] The same research group concluded in a                  censuses based on mandatory self-report questionnaires completed
recent report that treatment with cross-sex hormones seems                   by all adult citizens in 1960, 1970, 1980, and 1990 provided
acceptably safe, but with the reservation that solid clinical data are       information on individuals, households, and dwellings, including
missing.[11] A limitation with respect to the Dutch cohort is that           gender, living area, and highest educational level. Complete
the proportion of patients treated with cross-sex hormones who               migration data, including country of birth for immigrants for
also had surgical sex-reassignment is not accounted for.[10]                 1969–2003, were obtained from the TPR. In addition to
   Data is inconsistent with respect to psychiatric morbidity post           educational information from the censuses, we also obtained
sex reassignment. Although many studies have reported psychiat-              highest educational level data for 1990 and 2000 from the Register
ric and psychological improvement after hormonal and/or                      of Education. The Cause of Death Register (CDR, Statistics
surgical treatment,[7,12,13,14,15,16] other have reported on                 Sweden) records all deaths in Sweden since 1952 and provided
regrets,[17] psychiatric morbidity, and suicide attempts after               information on date of death and causes of death. Death events
SRS.[9,18] A recent systematic review and meta-analysis con-                 occurring up to 31 December 2003 are included in the study. The
cluded that approximately 80% reported subjective improvement                Crime Register (held by the National Council of Crime
in terms of gender dysphoria, quality of life, and psychological             Prevention) provided information regarding crime type and date
symptoms, but also that there are studies reporting high                     on all criminal convictions in Sweden during the period 1973–
psychiatric morbidity and suicide rates after sex reassignment.[19]          2004. Attempted and aggravated forms of all offences were also
The authors concluded though that the evidence base for sex                  included. All crimes in Sweden are registered regardless of insanity
reassignment ‘‘is of very low quality due to the serious                     at the time of perpetration; for example, for individuals who
methodological limitations of included studies.’’                            suffered from psychosis at the time of the offence. Moreover,
   The methodological shortcomings have many reasons. First, the             conviction data include individuals who received custodial or non-
nature of sex reassignment precludes double blind randomized                 custodial sentences and cases where the prosecutor decided to
controlled studies of the result. Second, transsexualism is rare [20]        caution or fine without court proceedings. Finally, Sweden does
and many follow-ups are hampered by small numbers of                         not differ considerably from other members of the European
subjects.[5,8,21,22,23,24,25,26,27,28] Third, many sex reassigned            Union regarding rates of violent crime and their resolution.[31]
persons decline to participate in follow-up studies, or relocate after
surgery, resulting in high drop-out rates and consequent selection           Study population, identification of sex-reassigned
bias.[6,9,12,21,24,28,29,30] Forth, several follow-up studies are            persons (exposure assessment)
hampered by limited follow-up periods.[7,9,21,22,26,30] Taken                   The study was designed as a population-based matched cohort
together, these limitations preclude solid and generalisable                 study. We used the individual national registration number,
conclusions. A long-term population-based controlled study is                assigned to all Swedish residents, including immigrants on arrival,
one way to address these methodological shortcomings.                        as the primary key through all linkages. The registration number
   Here, we assessed mortality, psychiatric morbidity, and psycho-           consists of 10 digits; the first six provide information of the birth
social integration expressed in criminal behaviour after sex                 date, whereas the ninth digit indicates the gender. In Sweden, a
reassignment in transsexual persons, in a total population cohort            person presenting with gender dysphoria is referred to one of six
study with long-term follow-up information obtained from Swedish             specialised gender teams that evaluate and treat patients
registers. The cohort was compared with randomly selected                    principally according to international consensus guidelines:
population controls matched for age and gender. We adjusted for              Standards of Care.[3] With a medical certificate, the person
premorbid differences regarding psychiatric morbidity and immi-              applies to the National Board of Health and Welfare to receive
grant status. This study design sheds new light on transsexual               permission for sex reassignment surgery and a change of legal sex
persons’ health after sex reassignment. It does not, however, address        status. A new national registration number signifying the new
whether sex reassignment is an effective treatment or not.                   gender is assigned after sex reassignment surgery. The National


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Board of Health and Welfare maintains a link between old and                  identity disorder diagnosis according to the Hospital Discharge
new national registration numbers, making it possible to follow               Register. Control persons were matched by sex and birth year and
individuals undergoing sex reassignment across registers and over             had to be alive and residing in Sweden at the estimated sex
time. Hence, sex reassignment surgery in Sweden requires (i) a                reassignment date of the case person. To study possible gender-
transsexualism diagnosis and (ii) permission from the National                specific effects on outcomes of interest, we used two different
Board of Health and Welfare.                                                  control groups: one with the same sex as the case individual at
   A person was defined as exposed to sex reassignment surgery if             birth (birth sex matching) and the other with the sex that the case
two criteria were met: (i) at least one inpatient diagnosis of gender         individual had been reassigned to (final sex matching).
identity disorder diagnosis without concomitant psychiatric
diagnoses in the Hospital Discharge Register, and (ii) at least               Outcome measures
one discrepancy between gender variables in the Medical Birth                    We studied mortality, psychiatric morbidity, accidents, and
Register (from 1973 and onwards) or the National Censuses from                crime following sex reassignment. More specifically, we investi-
1960, 1970, 1980, or 1990 and the latest gender designation in the            gated: (1) all-cause mortality, (2) death by definite/uncertain
Total Population Register. The first criterion was employed to                suicide, (3) death by cardiovascular disease, and (4) death by
capture the hospitalization for sex reassignment surgery that serves          tumour. Morbidity included (5) any psychiatric disorder (gender
to secure the diagnosis and provide a time point for sex                      identity disorders excluded), (6) alcohol/drug misuse and depen-
reassignment surgery; the plastic surgeons namely record the                  dence, (7) definite/uncertain suicide attempt, and (8) accidents.
reason for sex reassignment surgery, i.e., transsexualism, but not            Finally, we addressed court convictions for (9) any criminal offence
any co-occurring psychiatric morbidity. The second criterion was              and (10) any violent offence. Each individual could contribute with
used to ensure that the person went through all steps in sex-                 several outcomes, but only one event per outcome. Causes of
reassignment and also changed sex legally.                                    death (Cause of Death Registry from 1952 and onwards) were
   The date of sex reassignment (start of follow-up) was defined as           defined according to ICD as suicide (ICD-8 and ICD-9 codes
the first occurrence of a gender identity disorder diagnosis, without         E950-E959 and E980-E989, ICD-10 codes X60-X84 and Y10-
any other concomitant psychiatric disorder, in the Hospital                   Y34); cardiovascular disease (ICD-8 codes 390-458, ICD-9 codes
Discharge Register after the patient changed sex status (any                  390-459, ICD-10 codes I00-I99); neoplasms (ICD-8 and ICD-9
discordance in sex designation across the Censuses, Medical Birth,            codes 140-239, ICD-10 codes C00-D48), any psychiatric disorder
and Total Population registers). If this information was missing, we          (gender identity disorders excluded); (ICD-8 codes 290-301 and
used instead the closest date in the Hospital Discharge Register on           303-315, ICD-9 codes 290-301 and 303-319, ICD-10 codes F00-
which the patient was diagnosed with gender identity disorder                 F63 and F65-F99); alcohol/drug abuse and dependence (ICD-8
without concomitant psychiatric disorder prior to change in sex               codes 303-304, ICD-9 codes 303-305 (tobacco use disorder
status. The reason for prioritizing the use of a gender identity              excluded), ICD-10 codes F10-F16 and F18-F19 (x5 excluded);
disorder diagnosis after changed sex status over before was to avoid          and accidents (ICD-8 and ICD-9 codes E800-E929, ICD-10 codes
overestimating person-years at risk of sex-reassigned person.                 V01-X59).
   Using these criteria, a total of 804 patients with gender identity            Any criminal conviction during follow-up was counted;
disorder were identified, whereof 324 displayed a shift in the                specifically, violent crime was defined as homicide and attempted
gender variable during the period 1973–2003. The 480 persons                  homicide, aggravated assault and assault, robbery, threatening
that did not shift gender variable comprise persons who either did            behaviour, harassment, arson, or any sexual offense.[32]
not apply, or were not approved, for sex reassignment surgery.
Moreover, the ICD 9 code 302 is a non specific code for sexual                Covariates
disorders. Hence, this group might also comprise persons that                    Severe psychiatric morbidity was defined as inpatient care
were hospitalized for sexual disorders other than transsexualism.             according to ICD-8 codes 291, 295-301, 303-304, and 307; ICD-9
Therefore, they were omitted from further analyses. Of the                    codes 291-292, 295-298, 300-301, 303-305 (tobacco use disorder
remaining 324 persons, 288 were identified with the gender                    excluded), 307.1, 307.5, 308-309, and 311; ICD-10 codes F10-
identity diagnosis after and 36 before change of sex status. Out of the       F16, F18-F25, F28-F45, F48, F50, and F60-F62. Immigrant status,
288 persons identified after changed sex status, 185 could also be            defined as individuals born abroad, was obtained from the Total
identified before change in sex status. The median time lag between           Population Register. All outcome/covariate variables were
the hospitalization before and after sex change for these 185 persons         dichotomized (i.e., affected or unaffected) and without missing
was 0.96 years (mean 2.2 years, SD 3.3).                                      values.
   Gender identity disorder was coded according to ICD-8: 302.3
(transsexualism) and 302.9 (sexual deviation NOS); ICD-9: 302                 Statistical analyses
(overall code for sexual deviations and disorders, more specific                 Each individual contributed person-time from study entry (for
codes were not available in ICD-9); and ICD-10: F64.0                         exposed: date of sex reassignment; for unexposed: date of sex
(transsexualism), F64.1 (dual-role transvestism), F64.8 (other                reassignment of matched case) until date of outcome event, death,
gender identity disorder), and F64.9 (gender identity disorder                emigration, or end of study period (31 December 2003), whichever
NOS). Other psychiatric disorders were coded as ICD-8: 290-301                came first. The association between exposure (sex reassignment)
and 303-315; ICD-9: 290-301 and 303-319; and ICD-10: F00-F63                  and outcome (mortality, morbidity, crime) was measured by
as well as F65-F99.                                                           hazard ratios (HR) with 95% CIs, taking follow-up time into
                                                                              account. HRs were estimated from Cox proportional hazard
Identification of population-based controls (unexposed                        regression models, stratified on matched sets (1:10) to account for
group)                                                                        the matching by sex, age, and calendar time (birth year). We
  For each exposed person (N = 324), we randomly selected 10                  present crude HRs (though adjusted for sex and age through
unexposed controls. A person was defined as unexposed if there                matching) and confounder-adjusted HRs [aHRs] for all outcomes.
were no discrepancies in sex designation across the Censuses,                 The two potential confounders, immigrant status (yes/no) and
Medical Birth, and Total Population registers and no gender                   history of severe psychiatric morbidity (yes/no) prior to sex


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reassignment, were chosen based on previous research[18,33] and                          The average follow-up time for all-cause mortality was 11.4
different prevalence across cases and controls (Table 1).                              (median 9.1) years. The average follow-up time for the risk of
   Gender-separated analyses were performed and a Kaplan-                              being hospitalized for any psychiatric disorder was 10.4 (median
Meier survival plot graphically illustrates the survival of the sex                    8.1).
reassigned cohort and matched controls (all-cause mortality) over
time. The significance level was set at 0.05 (all tests were two-                      Characteristics prior to sex reassignment
sided). All outcome/covariate variables were without missing                              Table 1 displays demographic characteristics of sex-reassigned
values, since they are generated from register data, which are                         and control persons prior to study entry (sex reassignment). There
either present (affected) or missing (unaffected). The data were                       were no substantial differences between female-to-males and male-
analysed using SAS version 9.1 (SAS Institute Inc., Cary, NC,                          to-females regarding measured baseline characteristics. Immigrant
USA).                                                                                  status was twice as common among transsexual individuals
                                                                                       compared to controls, living in an urban area somewhat more
Ethics                                                                                 common, and higher education about equally prevalent. Trans-
  The data linking of national registers required for this study was                   sexual individuals had been hospitalized for psychiatric morbidity
approved by the IRB at Karolinska Institutet, Stockholm. All data                      other than gender identity disorder prior to sex reassignment
were analyzed anonymously; therefore, informed consent for each                        about four times more often than controls. To adjust for these
individual was neither necessary nor possible.                                         baseline discrepancies, hazard ratios adjusted for immigrant status
                                                                                       and psychiatric morbidity prior to baseline are presented for all
                                                                                       outcomes [aHRs].
Results
   We identified 324 transsexual persons (exposed cohort) who                          Mortality
underwent sex reassignment surgery and were assigned a new legal                         Table 2 describes the risks for selected outcomes during follow-up
sex between 1973 and 2003. These constituted the sex-reassigned                        among sex-reassigned persons, compared to same-age controls of
(exposed) group. Fifty-nine percent (N = 191) of sex-reassigned                        the same birth sex. Sex-reassigned transsexual persons of both
persons were male-to-females and 41% (N = 133) female-to-males,                        genders had approximately a three times higher risk of all-cause
yielding a sex ratio of 1.4:1 (Table 1).                                               mortality than controls, also after adjustment for covariates. Table 2

 Table 1. Baseline characteristics among sex-reassigned subjects in Sweden (N = 324) and population controls matched for birth
 year and sex.


                                                              Sex-reassigned subjects           Birth-sex matched controls      Final-sex matched controls
 Characteristic at baseline                                   (N = 324)                         (N = 3,240)                     (N = 3,240)

 Gender
   Female at birth, male after sex change                     133 (41%)                         1,330 (41%)                     1,330 (41%)
   Male at birth, female after sex change                     191 (59%)                         1,910 (59%)                     1,910 (59%)
 Average age at study entry [years] (SD, min-max)
   Female at birth, male after sex change                     33.3 (8.7, 20–62)                 33.3 (8.7, 20–62)               33.3 (8.7, 20–62)
   Male at birth, female after sex change                     36.3 (10.1, 21–69)                36.3 (10.1, 21–69)              36.3 (10.1, 21–69)
   Both genders                                               35.1 (9.7, 20–69)                 35.1 (9.7, 20–69)               35.1 (9.7, 20–69)
 Immigrant status
   Female at birth, male after sex change                     28 (21%)                          118 (9%)                        100 (8%)
   Male at birth, female after sex change                     42 (22%)                          176 (9%)                        164 (9%)
   Both genders                                               70 (22%)                          294 (9%)                        264 (8%)
 Less than 10 years of schooling prior to entry vs. 10 years or more
   Females at birth, males after sex change                   49 (44%); 62 (56%)                414 (37%); 714 (63%)            407 (36%); 713 (64%)
   Males at birth, females after sex change                   61 (41%); 89 (59%)                665 (40%); 1,011 (60%)          595 (35%); 1,091 (65%)
   All individuals with data                                  110 (42%); 151 (58%)              1,079 (38%); 1,725 (62%)        1,002 (36%); 1,804 (64%)
 Psychiatric morbidity* prior to study entry
   Female at birth, male after sex change                     22 (17%)                          47 (4%)                         42 (3%)
   Male at birth, female after sex change                     36 (19%)                          76 (4%)                         72 (4%)
   Both genders                                               58 (18%)                          123 (4%)                        114 (4%)
 Rural [vs. urban] living area prior to entry
   Female at birth, male after sex change                     13 (10%)                          180 (14%)                       195 (15%)
   Male at birth, female after sex change                     20 (10%)                          319 (17%)                       272 (14%)
   Both genders                                               33 (10%)                          499 (15%)                       467 (14%)

 Note:
 *Hospitalizations for gender identity disorder were not included.
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 Table 2. Risk of various outcomes among sex-reassigned subjects in Sweden (N = 324) compared to population controls matched
 for birth year and birth sex.


                                 Number of events        Outcome incidence rate                  Crude               Adjusted*         Adjusted*        Adjusted*
                                 cases/                  per 1000 person-years                   hazard ratio        hazard ratio      hazard ratio     hazard ratio
                                 controls                1973–2003                               (95% CI)            (95% CI)          (95% CI)         (95% CI)
                                 1973–2003               (95% CI)                                1973–2003           1973–2003         1973–1988        1989–2003

                                                         Cases                 Controls

 Any death                       27/99                   7.3 (5.0–10.6)        2.5 (2.0–3.0)     2.9 (1.9–4.5)       2.8 (1.8–4.3)     3.1 (1.9–5.0)    1.9 (0.7–5.0)
   Death by suicide              10/5                    2.7 (1.5–5.0)         0.1 (0.1–0.3)     19.1 (6.5–55.9)     19.1 (5.8–62.9)   N/A              N/A
   Death by cardiovascular       9/42                    2.4 (1.3–4.7)         1.1 (0.8–1.4)     2.6 (1.2–5.4)       2.5 (1.2–5.3)     N/A              N/A
   disease
   Death by neoplasm             8/38                    2.2 (1.1–4.3)         1.0 (0.7–1.3)     2.1 (1.0–4.6)       2.1 (1.0–4.6)     N/A              N/A
 Any psychiatric                 64/173                  19.0 (14.8–24.2)      4.2 (3.6–4.9)     4.2 (3.1–5.6)       2.8 (2.0–3.9)     3.0 (1.9–4.6)    2.5 (1.4–4.2)
 hospitalisation{
   Substance misuse              22/78                   5.9 (3.9–8.9)         1.8 (1.5–2.3)     3.0 (1.9–4.9)       1.7 (1.0–3.1)     N/A              N/A
 Suicide attempt                 29/44                   7.9 (5.5–11.4)        1.0 (0.8–1.4)     7.6 (4.7–12.4)      4.9 (2.9–8.5)     7.9 (4.1–15.3)   2.0 (0.7–5.3)
 Any accident                    32/233                  9.0 (6.3–12.7)        5.7 (5.0–6.5)     1.6 (1.1–2.3)       1.4 (1.0–2.1)     1.6 (1.0–2.5)    1.1 (0.5–2.2)
 Any crime                       60/350                  18.5 (14.3–23.8)      9.0 (8.1–10.0)    1.9 (1.4–2.5)       1.3 (1.0–1.8)     1.6 (1.1–2.4)    0.9 (0.6–1.5)
   Violent crime                 14/61                   3.6 (2.1–6.1)         1.4 (1.1–1.8)     2.7 (1.5–4.9)       1.5 (0.8–3.0)     N/A              N/A

 Notes:
 *Adjusted for psychiatric morbidity prior to baseline and immigrant status.
 {
  Hospitalisations for gender identity disorder were excluded.
 N/A Not applicable due to sparse data.
 doi:10.1371/journal.pone.0016885.t002


separately lists the outcomes depending on when sex reassignment                        suicide was much higher in sex-reassigned persons, compared to
was performed: during the period 1973-1988 or 1989–2003. Even                           matched controls. Mortality due to cardiovascular disease was
though the overall mortality was increased across both time periods,                    moderately increased among the sex-reassigned, whereas the
it did not reach statistical significance for the period 1989–2003.                     numerically increased risk for malignancies was borderline
The Kaplan-Meier curve (Figure 1) suggests that survival of                             statistically significant. The malignancies were lung cancer (N = 3),
transsexual persons started to diverge from that of matched controls                    tongue cancer (N = 1), pharyngeal cancer (N = 1), pancreas cancer
after about 10 years of follow-up. The cause-specific mortality from                    (N = 1), liver cancer (N = 1), and unknown origin (N = 1).




Figure 1. Death from any cause as a function of time after sex reassignment among 324 transsexual persons in Sweden (male-to-
female: N = 191, female-to-male: N = 133), and population controls matched on birth year.
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Psychiatric morbidity, substance misuse, and accidents                         The poorer outcome in the present study might also be
   Sex-reassigned persons had a higher risk of inpatient care for a         explained by longer follow-up period (median .10 years)
psychiatric disorder other than gender identity disorder than               compared to previous studies. In support of this notion, the
controls matched on birth year and birth sex (Table 2). This held           survival curve (Figure 1) suggests increased mortality from ten
after adjustment for prior psychiatric morbidity, and was true              years after sex reassignment and onwards. In accordance, the
regardless of whether sex reassignment occurred before or after             overall mortality rate was only significantly increased for the group
1989. In line with the increased mortality from suicide, sex-               operated before 1989. However, the latter might also be explained
reassigned individuals were also at a higher risk for suicide               by improved health care for transsexual persons during 1990s,
attempts, though this was not statistically significant for the time        along with altered societal attitudes towards persons with different
period 1989–2003. The risks of being hospitalised for substance             gender expressions.[35]
misuse or accidents were not significantly increased after adjusting           Mortality due to cardiovascular disease was significantly
for covariates (Table 2).                                                   increased among sex reassigned individuals, albeit these results
                                                                            should be interpreted with caution due to the low number of
Crime rate                                                                  events. This contrasts, however, a Dutch follow-up study that
  Transsexual individuals were at increased risk of being                   reported no increased risk for cardiovascular events.[10,11] A
convicted for any crime or violent crime after sex reassignment             recent meta-analysis concluded, however, that data on cardiovas-
(Table 2); this was, however, only significant in the group who             cular outcome after cross-sex steroid use are sparse, inconclusive,
underwent sex reassignment before 1989.                                     and of very low quality.[34]
                                                                               With respect to neoplasms, prolonged hormonal treatment
Gender differences                                                          might increase the risk for malignancies,[36] but no previous study
   Comparisons of female-to-males and male-to-females, although             has tested this possibility. Our data suggested that the cause-
hampered by low statistical power and associated wide confidence            specific risk of death from neoplasms was increased about twice
intervals, suggested mostly similar risks for adverse outcomes              (borderline statistical significance). These malignancies (see
(Tables S1 and S2). However, violence against self (suicidal                Results), however, are unlikely to be related to cross-hormonal
behaviour) and others ([violent] crime) constituted important               treatment.
exceptions. First, male-to-females had significantly increased risks           There might be other explanations to increased cardiovascular
for suicide attempts compared to both female (aHR 9.3; 95% CI               death and malignancies. Smoking was in one study reported in
4.4–19.9) and male (aHR 10.4; 95% CI 4.9–22.1) controls. By                 almost 50% by the male-to females and almost 20% by female-to-
contrast, female-to-males had significantly increased risk of suicide       males.[9] It is also possible that transsexual persons avoid the
attempts only compared to male controls (aHR 6.8; 95% CI 2.1–               health care system due to a presumed risk of being discriminated.
21.6) but not compared to female controls (aHR 1.9; 95% CI 0.7–                Mortality from suicide was strikingly high among sex-reassigned
4.8). This suggests that male-to-females are at higher risk for             persons, also after adjustment for prior psychiatric morbidity. In
suicide attempts after sex reassignment, whereas female-to-males            line with this, sex-reassigned persons were at increased risk for
maintain a female pattern of suicide attempts after sex reassign-           suicide attempts. Previous reports [6,8,10,11] suggest that
ment (Tables S1 and S2).                                                    transsexualism is a strong risk factor for suicide, also after sex
   Second, regarding any crime, male-to-females had a signifi-              reassignment, and our long-term findings support the need for
cantly increased risk for crime compared to female controls (aHR            continued psychiatric follow-up for persons at risk to prevent this.
6.6; 95% CI 4.1–10.8) but not compared to males (aHR 0.8; 95%                  Inpatient care for psychiatric disorders was significantly more
CI 0.5–1.2). This indicates that they retained a male pattern               common among sex-reassigned persons than among matched
regarding criminality. The same was true regarding violent crime.           controls, both before and after sex reassignment. It is generally
By contrast, female-to-males had higher crime rates than female             accepted that transsexuals have more psychiatric ill-health than the
controls (aHR 4.1; 95% CI 2.5–6.9) but did not differ from male             general population prior to the sex reassignment.[18,21,22,33] It
controls. This indicates a shift to a male pattern regarding                should therefore come as no surprise that studies have found high
criminality and that sex reassignment is coupled to increased crime         rates of depression,[9] and low quality of life[16,25] also after sex
rate in female-to-males. The same was true regarding violent                reassignment. Notably, however, in this study the increased risk for
crime.                                                                      psychiatric hospitalisation persisted even after adjusting for psychi-
                                                                            atric hospitalisation prior to sex reassignment. This suggests that
Discussion                                                                  even though sex reassignment alleviates gender dysphoria, there is a
                                                                            need to identify and treat co-occurring psychiatric morbidity in
Principal findings and comparison with previous research                    transsexual persons not only before but also after sex reassignment.
   We report on the first nationwide population-based, long-term               Criminal activity, particularly violent crime, is much more
follow-up of sex-reassigned transsexual persons. We compared our            common among men than women in the general population. A
cohort with randomly selected population controls matched for               previous study of all applications for sex reassignment in Sweden
age and gender. The most striking result was the high mortality             up to 1992 found that 9.7% of male-to-female and 6.1% of female-
rate in both male-to-females and female-to males, compared to the           to-male applicants had been prosecuted for a crime.[33] Crime
general population. This contrasts with previous reports (with one          after sex reassignment, however, has not previously been studied.
exception[8]) that did not find an increased mortality rate after sex       In this study, male-to-female individuals had a higher risk for
reassignment, or only noted an increased risk in certain                    criminal convictions compared to female controls but not
subgroups.[7,9,10,11] Previous clinical studies might have been             compared to male controls. This suggests that the sex reassignment
biased since people who regard their sex reassignment as a failure          procedure neither increased nor decreased the risk for criminal
are more likely to be lost to follow-up. Likewise, it is cumbersome         offending in male-to-females. By contrast, female-to-males were at
to track deceased persons in clinical follow-up studies. Hence,             a higher risk for criminal convictions compared to female controls
population-based register studies like the present are needed to            and did not differ from male controls, which suggests increased
improve representativity.[19,34]                                            crime proneness in female-to-males after sex reassignment.


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                                                                                                                          Long-Term Follow-Up of Sex Reassignment



Strengths and limitations of the study                                                    comparatively large national cohort and long-term follow-up, the
   Strengths of this study include nationwide representativity over                       statistical power was limited. Third, regarding psychiatric
more than 30 years, extensive follow-up time, and minimal loss to                         morbidity after sex reassignment, we assessed inpatient psychiatric
follow-up. Many previous studies suffer from low outcome                                  care. Since most psychiatric care is provided in outpatient settings
ascertainment,[6,9,21,29] whereas this study has captured almost                          (for which no reliable data were available), underestimation of the
the entire population of sex-reassigned transsexual individuals in                        absolute prevalences was inevitable. However, there is no reason to
Sweden from 1973–2003. Moreover, previous outcome studies                                 believe that this would change the relative risks for psychiatric
have mixed pre-operative and post-operative transsexual per-                              morbidity unless sex-reassigned transsexual individuals were more
sons,[22,37] while we included only post-operative transsexual                            likely than matched controls to be admitted to hospital for any
persons that also legally changed sex. Finally, whereas previous                          given psychiatric condition.
studies either lack a control group or use standardised mortality                            Finally, to estimate start of follow-up, we prioritized using the
rates or standardised incidence rates as comparisons,[9,10,11] we                         date of a gender identity disorder diagnosis after changed sex status
selected random population controls matched by birth year, and                            over before changed sex status, in order to avoid overestimating
either birth or final sex.                                                                person-years at risk after sex-reassignment. This means that
   Given the nature of sex reassignment, a double blind                                   adverse outcomes might have been underestimated. However,
randomized controlled study of the result after sex reassignment                          given that the median time lag between the hospitalization before
is not feasible. We therefore have to rely on other study designs.                        and after change of sex status was less than a year (see Methods),
For the purpose of evaluating whether sex reassignment is an                              this maneuver is unlikely to have influenced the results
effective treatment for gender dysphoria, it is reasonable to                             significantly. Moreover, all deaths will be recorded regardless of
compare reported gender dysphoria pre and post treatment. Such                            this exercise and mortality hence correctly estimated.
studies have been conducted either prospectively[7,12] or
retrospectively,[5,6,9,22,25,26,29,38] and suggest that sex reas-                         Conclusion
signment of transsexual persons improves quality of life and                                 This study found substantially higher rates of overall mortality,
gender dysphoria. The limitation is of course that the treatment                          death from cardiovascular disease and suicide, suicide attempts,
has not been assigned randomly and has not been carried out                               and psychiatric hospitalisations in sex-reassigned transsexual
blindly.                                                                                  individuals compared to a healthy control population. This
   For the purpose of evaluating the safety of sex reassignment in                        highlights that post surgical transsexuals are a risk group that
terms of morbidity and mortality, however, it is reasonable to                            need long-term psychiatric and somatic follow-up. Even though
compare sex reassigned persons with matched population controls.                          surgery and hormonal therapy alleviates gender dysphoria, it is
The caveat with this design is that transsexual persons before sex                        apparently not sufficient to remedy the high rates of morbidity and
reassignment might differ from healthy controls (although this bias                       mortality found among transsexual persons. Improved care for the
can be statistically corrected for by adjusting for baseline                              transsexual group after the sex reassignment should therefore be
differences). It is therefore important to note that the current                          considered.
study is only informative with respect to transsexuals persons
health after sex reassignment; no inferences can be drawn as to the
effectiveness of sex reassignment as a treatment for transsexualism.                      Supporting Information
In other words, the results should not be interpreted such as sex                         Table S1 Risk of various outcomes in sex-reassigned
reassignment per se increases morbidity and mortality. Things                             persons in Sweden compared to population controls
might have been even worse without sex reassignment. As an                                matched for birth year and birth sex.
analogy, similar studies have found increased somatic morbidity,                          (DOCX)
suicide rate, and overall mortality for patients treated for bipolar
disorder and schizophrenia.[39,40] This is important information,                         Table S2 Risk of various outcomes in sex-reassigned
but it does not follow that mood stabilizing treatment or                                 persons in Sweden compared to controls matched for
antipsychotic treatment is the culprit.                                                   birth year and final sex.
   Other facets to consider are first that this study reflects the                        (DOCX)
outcome of psychiatric and somatic treatment for transsexualism
provided in Sweden during the 1970s and 1980s. Since then,
treatment has evolved with improved sex reassignment surgery,                             Author Contributions
refined hormonal treatment,[11,41] and more attention to                                  Conceived and designed the experiments: CD PL AJ NL ML. Performed
psychosocial care that might have improved the outcome. Second,                           the experiments: MB AJ. Analyzed the data: CD PL MB AJ NL ML.
transsexualism is a rare condition and Sweden is a small country                          Contributed reagents/materials/analysis tools: PL NL AJ. Wrote the
(9.2 million inhabitants in 2008). Hence, despite being based on a                        paper: CD PL MB AJ NL ML.

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